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13
                                UNITED STATES DISTRICT COURT
14
                             NORTHERN DISTRICT OF CALIFORNIA
15
                                         SAN JOSE DIVISION
16

17 SVB FINANCIAL GROUP,                              Case No.: 5:24-cv-01321-BLF

18                       Plaintiff,                  FDIC-R1’S ADMINISTRATIVE MOTION
                                                     TO CONSIDER WHETHER CASES
19         v.                                        SHOULD BE RELATED

20 FEDERAL DEPOSIT INSURANCE           Judge: Hon. Beth Labson Freeman
   CORPORATION AS RECEIVER FOR SILICON Action Filed: March 5, 2024
21 VALLEY BANK AND SILICON VALLEY
   BRIDGE BANK, N.A.
22
                   Defendant.
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     FDIC-R1’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
                                      Case No. 5:24-cv-01321-BLF
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 1                                         ADMINISTRATIVE MOTION

 2           The Federal Deposit Insurance Corporation as Receiver for Silicon Valley Bank (FDIC-R1)

 3 moves under the Civil Local Rule 7-11 for consideration that the following two actions are related:

 4           (1) SVB Financial Group v. Federal Deposit Insurance Corporation as Receiver for Silicon

 5              Valley Bank and Silicon Valley Bridge Bank, N.A., No. 5:24-cv-0132-BLF (SVBFG v.

 6              FDIC-R); and

 7           (2) Federal Deposit Insurance Corporation as Receiver for Silicon Valley Bank v. Becker et

 8              al., No. 5:25-cv-00568-NC (FDIC-R v. Becker).

 9           Because the two actions meet the definition of related cases under Civil Local Rule 3-12, the

10 FDIC-R1 respectfully requests that the Court order the two actions related.

11      I.      THE TWO ACTIONS ARE RELATED

12           Under Civil Local Rule 3-12(a), an action is related to another when “[t]he actions concern

13 substantially the same parties, property, transaction[,] or event,” and “[i]t appears likely that there will

14 be an unduly burdensome duplication of labor and expense or conflicting results if the cases are

15 conducted before different Judges.” Both requirements are met here.

16           A. The Two Actions Concern Substantially the Same Parties and Events

17           The two actions concern substantially the same parties and events.

18           The newly filed case, FDIC-R v. Becker, seeks recovery against former officers and directors

19 of Silicon Valley Bank (SVB) for damages caused by their negligence, gross negligence, and breaches

20 of fiduciary duty. SVB was closed on March 10, 2023, in what is now the third largest bank failure in

21 United Sates history, and the FDIC-R1 was appointed as SVB’s receiver.

22           The earlier filed case, SVBFG v. FDIC-R, seeks recovery by SVB’s former bank holding

23 company (SVBFG) based on balances in its deposit accounts at SVB at the time of failure. Pursuant

24 to FDIC-R’s Answer and Affirmative Defenses (Dkt. 135), the FDIC-R1 denies any liability and

25 further asserts that any recovery by SVBFG is precluded or fully setoff because of SVBFG’s own

26 misconduct. That misconduct includes aiding and abetting breaches of fiduciary duty by SVB’s former

27 officers and directors (who were simultaneously officers and directors of both SVB and SVBFG acting

28 pursuant to joint policies and through joint committees). SVBFG also is liable for acts of SVB’s former
                                                    –2–
     FDIC-R1’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
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 1 officers and directors as SVBFG’s agents. Accordingly, there is very substantial overlap between the

 2 factual and legal predicates for the FDIC-R1’s setoff and other defenses in the SVBFG v. FDIC-R case

 3 and for the claims alleged in the FDIC-R v. Becker case. Moreover, the officers and directors identified

 4 as wrongdoers in the FDIC-R1’s setoff defenses in the SVBFG v. FDIC-R case are the same as the

 5 defendants in the FDIC-R v. Becker case. The FDIC-R1 also is a party to both cases.

 6             Because the two cases involve substantial overlap among the parties and relate to the same

 7 underlying conduct, the first requirement of Civil Local Rule 3-12(a) is met.

 8             B. There Will Be an Unduly Burdensome Duplication of Labor and Expense, or Risk of

 9                 Conflicting Results, If the Cases Are Not Related

10             If the actions are not related, it appears likely that there will be duplication of labor and a risk

11 of conflicting results. Judicial resolution of the two actions will require examination of substantially

12 the same factual allegations and questions of law concerning the conduct and duties of SVB’s officers

13 and directors, in addition to discovery from numerous overlapping witnesses. Accordingly, there will

14 be duplication of effort and numerous risks of conflicting results on important, substantially similar

15 questions of law and fact if the cases do not proceed in front of the same Judge. The second

16 requirement of Civil Local Rule 3-12(a) is met.

17      II.        COMPLIANCE WITH CIVIL LOCAL RULES 3-12 AND 7-11

18             Pursuant to Civil Local Rule 3-12(b), a courtesy copy of this motion will be lodged with the

19 assigned Judge in each apparently related case.

20             Additionally, under Civil Local Rule 7-11(a), a motion for an order for administrative relief

21 must include, among other things, a stipulation under Civil Local Rule 7-12 or a declaration that

22 explains why the stipulation could not be obtained. Here, the FDIC-R v. Becker case was recently filed

23 and counsel for the various officer and director defendants have not yet appeared. See Declaration of

24 Elliott McGraw in Support of FDIC-R1’s Administrative Motion to Consider Whether Cases Should

25 be Related.

26      III.       ANTICIPATED CASE COORDINATION ISSUES

27             As the Court is aware, the SVBFG v. FDIC-R action was previously related to Silicon Valley

28 Bank Financial Group v. Federal Deposit Insurance Corporation in its Corporate Capacity (SVBFG
                                                –3–
     FDIC-R1’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
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 1 v. FDIC-C), No. 5:23-cv-06543-BLF. The Court entered a Joint Discovery Stipulation on December

 2 11, 2024 (Dkt. 114 in this matter) that seeks to coordinate discovery for efficiency purposes by

 3 facilitating document productions across cases and attempting to ensure one deposition per witness.

 4 The Court approved and ordered a substitution of new counsel for SVBFG on December 19, 2024

 5 (Dkt. 124 in this matter). New counsel for SVBFG has advised that it plans to move to consolidate the

 6 SVBFG v. FDIC-R and SVBFG v. FDIC-C cases. The FDIC-R1 has advised SVBFG that it would

 7 view any such motion as premature (considering the already coordinated discovery) and

 8 fundamentally inconsistent with SVBFG’s filing two separate cases and waiting nearly a year to seek

 9 consolidation.
10            By contrast, the FDIC-R1 submits that there is significant interest in judicial and party

11 economy in, at a minimum, coordinating discovery in the SVBFG v. FDIC-R and FDIC-R v. Becker

12 cases. Coordinating discovery would allow the officer and director defendants in the FDIC-R v. Becker

13 case to be deposed only once, in connection with the same conduct and events at issue in both cases.

14 Further consolidation, at least for pretrial purposes, may be appropriate as the cases progress to address

15 the possibility of conflicting factual determinations about the underlying conduct in the two cases.

16            The FDIC-R1 recognizes that there may be conflicting interests in scheduling the two cases

17 between SVBFG, on the one hand, and the officers and directors, on the other. The FDIC-R1 believes

18 both judicial and party economy favor coordinating discovery in these matters at the earliest
19 opportunity, which will necessitate developing an appropriate global schedule. The FDIC-R1 therefore

20 raises these considerations now, on a preliminary basis in this Administrative Motion, in the interests

21 of candor to the parties and the Court.

22      IV.      CONCLUSION

23            For these reasons, FDIC-R1 respectfully requests that the Court order the SVBFG v. FDIC-R

24 and the FDIC-R v. Becker actions related, and to order such further proceedings as it deems appropriate

25 to resolve various issues of coordination, consolidation, and scheduling.

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 1 Dated: January 17, 2025
                                          BAILEY & GLASSER, LLP
 2
                                          By: /s/ Stephen Sorensen
 3                                        STEPHEN SORENSEN
 4                                        Counsel to the Federal Deposit Insurance
                                          Corporation as Receiver for Silicon Valley Bank
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 1                                 CERTIFICATE OF SERVICE

 2         The undersigned certifies that the foregoing was served on January 17, 2025 by filing with
   the Court’s ECF system, which constitutes service on all parties having appeared in the above-
 3 captioned proceeding, and that copies of the foregoing also were served on the below in the manner
   indicated:
 4
    By email and overnight delivery:                  By messenger delivery:
 5
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14

15

16
                                                    /s/ Elliott McGraw
17                                                  Elliott McGraw
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     FDIC-R1’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
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